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                  EXHIBIT A
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 December 7, 2022

 Maricopa County
 301 West Jefferson Street
 Phoenix, Arizona 85003
 Submitted via email to: AnnScheel@mcso.maricopa.gov

 RE: Methodology and Work Plan for Staffing Study

The Center for Public Safety Management, LLC (CPSM), the exclusive provider of public safety technical assistance for the
International City/County Management Association (ICMA), submits the following explanation of our methodology and
update on the progress of the staffing study we are currently working on for the County and the Sheriff's Office. This
explanation and update are intended to supplement our original proposal and provide additional detail given the most recent
Court Order, No. CV-07-2513-PHX-GMS
CPSM specializes in comprehensive evaluations and analysis of police and sheriff departments using our unique,
systematic methodology and leading industry subject matter expertise. Depending on our client's specific needs, we
may examine department organizational structure and culture, identify workload and staffing needs, and align
department operations with industry best practices. Our public safety consultants have conducted more than 400
studies in 46 states and provinces and 307 communities ranging in population from 8,000 (Boone, Iowa) to 800,000
(Indianapolis, Indiana).

Our project team has been selected specifically for Maricopa County's Sworn Staffing Analysis for the Sheriff's Office
and collectively offers hundreds of years of practical experience managing police departments; a record of research,
academic teaching and training, and professional publications; and extensive consulting experience completing
hundreds of similar studies nationwide. Our operational consulting team member bios are included in the
following Appendix for additional information. The remainder of the team member bios, company qualifications,
and other information is in the original proposal submitted earlier this year.

CPSM is aware of the unique circumstances of the study we are conducting and the operational staffing
study's relationship to the Court's requirements outlined in the Melendres Court Orders. We are confident we
can provide a robust analysis of the Maricopa County Sheriff's Office in the context of and in compliance with
the Orders. In addition, we have added additional focus on the PSB backlog issue and are confident we can
meet the requirements of the Court in Order CV-07-2513-PHX-GMS.




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 My colleagues at CPSM and I greatly appreciate this opportunity and would be pleased to address
 any comments you may have. You may contact me at 714-916-7439 or via email at
 rhandy@cpsm.us

 Sincerely,




Robert Handy, Senior Consultant
Center for Public Safety Management, LLC




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              CPSM STAFFING STUDY METHODOLOGY

Understanding of the Scope of Work
Maricopa County and the Maricopa County Sheriff’s Office (MCSO)
retained CPSM to perform a comprehensive staffing analysis and coverage
plan of its sworn functions. The scope of the analysis includes patrol,
specialized,        Professional        Standards        Bureau,        and
Administrative/Compliance/Support functions. In part to address issues
raised by the Court, the independent study will determine: The most
efficient way for MCSO to allocate its personnel in light of existing
authorized staffing levels, the requirements of this Court’s Orders, the
timely elimination of the existing backlog of PSB investigations, and state
law; the necessary staffing level for MCSO to fulfill these obligations
regardless of existing staffing levels; and, the PSB staffing level required
to maintain the timely completion of investigations in compliance with the
Orders of this Court and state law. The study will also consider delegating
tasks to non-sworn staff to optimize sworn deputy time, and the report will
include recommendations for hiring and retaining sworn deputies. The
study will exclusively focus on operations other than detention. Other than
some administrative sections overlapping (HR, PSB, etc.), there will not be
any study or recommendations relative to detention operations.
CPSM has performed similar staffing studies as part of its organizational
and operational reviews of police departments and law enforcement
agencies since 2007. Our subject matter experts are seasoned law
enforcement professionals who bring hands-on experience managing and
staffing such organizations and knowledge of best practices and
innovations from their studies of police departments and agencies
nationwide. We get specific experience working with police departments
and sheriff’s offices in Arizona, including Pinal County, Prescott, Queen
Creek, Scottsdale, Tucson, Youngtown, and El Mirage.




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Project Management and Coordination with County Staff
The original CPSM team assigned to this project was changed at the point
of the first kickoff call. Our project manager is responsible for project
execution and contractual compliance. Chief Robert (Rob) Handy is the
project manager for this contract. He is leading our project team in
performing the required scope of services in accordance with the contract
scope of work, CPSM’s quality standards, and the established project
budget and schedule. As the project manager, Rob will serve as a principal
point of contact with Maricopa County.
Rob has led similar assessments of police departments since 2021, and he
will ensure that CPSM performs the required Sworn Staffing Analysis of the
Maricopa Sheriff’s Office with the same exceptional quality and service for
which CPSM is recognized. Rob reports to CPSM Managing Director
Leonard Matarese, who will oversee our performance of the study and
contract compliance. Leonard will also be available to the team as a
technical resource, having performed organizational and operational
assessments of police departments for more than 16 years. In addition,
three other subject matter experts are working on the operational review:
Chief Craig Junginger, Chief Jarrod Burguan, and Chief John Perez. All of
the bios for the team are in the attached Appendix.
In conjunction with our subject matter experts, our project manager will
review and evaluate the information provided by the Sheriff’s Office and
gathered through onsite and stakeholder meetings, interviews, and by
request. This same team will be responsible for identifying findings,
benchmarking the Sheriff’s Office, developing recommendations, preparing
the study report, and providing any presentation on the report.
CPSM maintains a full-time data assessment team with extensive
capabilities in extracting and presenting statistical analysis regarding police
activities. Under the direction of Dov Chelst, Ph.D., our quantitative data
analysis lead, our team will produce a series of unique analyses regarding
workload, unit response activities, call distribution, unit and station
workloads, response times, call durations, unit availability, and other activity
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reports that create a comprehensive understanding of workload and
community need.


Proposed Project Plan
CPSM will perform a comprehensive organizational and operational
analysis of the current organizational structure, staffing levels, and
operations of the Maricopa County Sheriff’s Office, excluding detention
operations. CPSM will develop options and recommendations to optimize
effectiveness and efficiency in managing and delivering law enforcement
services to the County’s residents. This will involve examining the Sheriff’s
Office status based on data gathered and analyzed, evaluating previous
reports and recommendations, and reviewing the information we collect via
interviews, meetings, and survey tools, as appropriate. This will include
reviewing the Sheriff’s Office mission and strategic priorities, completing
interviews with key stakeholders to gain an understanding of the current
community needs, evaluating current allocation and distribution of
resources, and evaluating the current delivery of police services. Our
analysis and recommendations will be conducted in consideration of and in
compliance with the provisions contained in the orders by the Court. We
will use the results of our comprehensive assessment of the Sheriff’s Office
to develop recommendations for optimal staffing requirements for sworn
and civilian staff and a recommended strategy for anticipated staffing needs
for the short and long-term that considers potential population and
economic growth and community needs.
For this project, CPSM has assembled a team of law enforcement subject
matter experts with experience performing similar assessments of and
strategic planning for police departments and agencies nationwide. Our
Project Manager, Rob Handy, will lead our project team in performing the
analysis of the Sheriff’s Office, developing recommendations, and
preparing the report.
CPSM will follow the standardized approach we have developed to conduct
analyses of police departments and sheriff’s offices by combining the
experience of dozens of subject matter experts. This approach is outlined
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below. Our quality control process includes peer technical review of all data
analyses and reports to ensure the quality of our work products. All projects
are performed on a fixed-price basis, which ensures our projects are
completed within established budgets. Our project manager manages
schedule performance to ensure the timely completion of project
deliverables.
CPSM’s Sworn Staffing Analysis of the Sheriff’s Office will address, but will
not be limited to, the items addressed in the scope of work for this project.


Project Kickoff (Complete)
CPSM began this project with a kickoff meeting in September, where we
introduced our project team to the County’s project team and exchanged
contact information, proposed work plan, the draft project schedule, and
information needs. This multi-purpose meeting provided an opportunity for
the project team to get acquainted and discuss points of contact, ensure
mutual understanding of and agreement on our approach to performing the
project, and discuss the initial information/data needed. This step
established a foundation for effective project communication and
performance.
The County project team includes Deputy County Manager Lee Ann Bohn,
MCSO Executive Chief of Administration Ann Scheel, MCSO Chief Deputy
of Operations Russ Skinner, and Lieutenant Jonathon Halverson.
Lieutenant Halverson has been the daily point of contact for the CPSM team
to facilitate our requests. Thus far in the project, our subject matter experts
have worked collaboratively with the County and keep the County’s project
team apprised of project status and planned activities while being careful
not to disrupt normal operations. Thus far, we have successfully
coordinated data and document production, stakeholder interviews,
meetings, etc., with the County’s team. The CPSM team has had unfiltered
access to data, MCSO employees, facilities, and everything we have asked
for to date.



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Information/Data Needed (Complete)
After the contract was awarded, CPSM submitted a detailed list of
information/data and documents to the Sheriff’s Office needed for our
assessment, along with instructions for electronic submittal. This list
included the following types of information/data:
 • Organization charts (County and Office)   • Training program information
 • County and Office Missions, Vision,       • Policies,     Standard      Operating
   Values statements                           Procedures (SOP’s) and any other
 • Previous assessments, audits, etc.          rules and regulations
 • Strategic planning documents              • Maps such as jurisdictional, response
                                               area, etc.
 • Case management data
 • Oversight reports                         • Fleet and equipment inventories
                                             • Budget
                                             • CAD Data


The Sheriff’s Office staff was requested to provide the information required
upon project start and participate in interviews and discussions to collect
information for the assessment. To date, County and Sheriff’s Office
participation in the project has been robust and consistent.            The
overwhelming majority of data and documents produced thus far have been
delivered and is being analyzed by our team.


Obtaining the Data Necessary to Perform the Required Analysis (In
Progress)
CPSM’s project team has obtained the majority of data necessary to
perform the organizational and operational assessment. While working
through the data and other information provided by MCSO, our team is
regularly requesting additional meetings, documents, and data to further
understand, interpret, or clarify issues.
We are currently in a forensic and comprehensive data analysis and writing
phase. During this phase, we begin to understand and capture the various
inputs needed to develop a comprehensive profile of the Sheriff’s Office and
its workload. We are evaluating service delivery outcomes, deployment

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practices along with an evaluation of the physical facilities and their support
functions.
We will look at neighboring communities and other similar communities to
evaluate any appropriate comparisons or develop a basis for
benchmarking. We have completed a Draft Data report and are reviewing
this with the County point(s) of contact to verify key data sets upon which
our assessment will be made. Once the data has been verified, our team
will finalize their assessments and recommendation in a draft report.
Our observations and recommendations will be developed around several
key performance measures and detailed analysis, including:


 Comprehensive Data Analysis
     o Incident Type Workload
     o Response Time
     o Call duration and on-scene times
     o Unit Workload
     o Analysis of availability and simultaneous responses
     o Governance and Administration
     o Organizational Structure
     o Organizational Leadership
     o Staffing and Deployment
     o External Relations
     o Current and Future Demographics
     o Regional and National Trends related to and impacting police
        service
     o Financial Resources (Operating and Capital Resources)

Onsite Operational Review
CPSM conducted an onsite operational review of the Maricopa County
Sheriff’s Office in November. Before the onsite arrival of CPSM’s team, we
obtained key operational documents (e.g., policies and procedures, assets
list, staffing plan, etc.) to compare what we found on paper with our
observations. The operational review involves an evaluation of all
operational divisions, sections, units, and specialized assignments. Onsite
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operational reviews involved interviews with management and supervisors,
rank and file deputies, attendance at roll calls, and ride-along with deputies.
We reviewed case files with investigators and observed dispatch operations
to assess compliance with the provided written documentation.
Based on our onsite visits and data assessments, our subject matter
experts will produce a SWOT analysis (strengths, weaknesses,
opportunities, and threats). We have found that following this standardized
approach ensures that we consider, measure, and observe all the critical
components of agencies.
CPSM’s approach to studying, understanding, evaluating, and reporting on
police departments around the country is described below. Although no
two law enforcement organizations are the same, a standardized approach
to department evaluation ensures a rigorous and methodological process
that permits benchmarking, comparing, and assessing within the context of
the best practices of American law enforcement. Each locality has unique
characteristics that present policing challenges. Integrating a standardized
approach within the context of local variability permits an accurate
assessment of the organization in its political environment, and further
permits CPSM to offer recommendations that comport with the best
practices in policing, while tailored to the specific community.


Benchmark the Community
To understand the service levels, protection needs, community dynamics,
and overall environment in which the Sheriff’s Office operates, CPSM’s
study will involve interviews with community stakeholders, which could
include elected officials and employee groups who would be contacted to
solicit their opinions about the Department, public safety needs of their
constituency, and perceived gaps in service levels currently provided. We
will meet with key stakeholders, both within and outside of the County
organization. Working with the County, we will identify community
members and other individuals that can provide important information, e.g.,
the Monitor, OIR Group Management Expert Mr. Michael Gennaco, MCSO
advisory boards, and others. Additionally, we will compare the Maricopa
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County Sheriff’s Office to comparable size organizations regarding crime,
demographics, and cost-efficiency.


Patrol Operations
Police agencies routinely speak about “recommended officers per 1,000
population” or a “National Standard” for staffing or comparisons to other
counties or municipalities. There are no such standards, nor are there
“recommended numbers” of “officers per thousand.” The International
Association of Chiefs of Police (IACP) states: “Ready-made, universally
applicable patrol staffing standards do not exist. Ratios, such as officers-
per-thousand population, are inappropriate as a basis for staffing
decisions.” Staffing decisions, particularly in patrol, must be made based
upon actual workload, and very few police agencies have the capability to
conduct that analysis. Once we complete an analysis of the Department’s
actual workload, a determination can be made as to the amount of
discretionary patrol time that should exist, consistent with the local
government’s ability to fund.
CPSM’s team of doctoral-level experts in Operations Research in Public
Safety have created The CPSM Patrol Workload & Deployment Analysis
System©, which allows us to produce detailed information on workload
even in those agencies without sophisticated management information
systems. Using raw data extracted from the Department’s CAD system,
our team converts calls for service (“CFS”) into police services workload
and effectively graphs workload reflecting seasonal, weekday/weekend,
and time-of-day variables. Using this information, the Office can contrast
actual workload with deployment and identify the amount of discretionary
patrol time available (as well as time commitments to other police activities).
Police service workload is differentiated from CFS, which reflects the
incidents recorded. Workload is a time measurement recording the actual
amount of police time required to handle CFS from inception to completion.
Various types of service calls require differing amounts of time (and thus
affect staffing requirements). As such, call volume (number of calls) as a


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percentage of total number of calls could be significantly different than
workload in a specific area as a percentage of total workload.
CPSM has found that the most effective way to manage operations in a law
enforcement agency is to make decisions based upon data and analysis.
To achieve this, we will conduct an analysis of the Sheriff’s Office workload,
staffing, and deployment. By objectively looking at the availability of
deployed hours and comparing those hours to those necessary to conduct
operations, staffing expansion and/or reductions can be determined and
projected. Additionally, the time necessary to conduct proactive patrol
activities will be reviewed to provide the Sheriff’s Office with a meaningful
methodology to determine appropriate staffing levels.
      Workload vs. Deployment Analysis
       Workload vs. Deployment Analysis is one way we show the amount
       of available, non-committed patrol time compared to workload. We
       break out the various patrol activities, convert them to time and then
       compare them to available workforce.
       CPSM’s study will include the calculation of service demands placed
       on the Sheriff’s Office, workload levels, service times for CFS, and
       response times. This information was developed by first extracting
       data from the Office’s CAD system. The extracted information is
       then processed, and workload is calculated. This workload is then
       compared to deployment levels. The product of this analysis is the
       variance between service demands and available personnel, and
       appropriate recommendations are made for staffing levels and an
       optimal deployment schedule to meet these service demands. This
       permits exploration of the following questions:
    § What are the service demands made by the public as measured
       through the CAD system?
    § What is the workload?
    § Based on this workload, is the alignment of Districts and Divisions
       appropriate?
    § Based on workload, is shift schedule aligned appropriately, and what
       alternatives are most efficient?

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§ How many deputies and supervisors are needed to staff patrol
   functions to meet workload demands?
§ How long does it take to respond to CFS (both response and total
   time), and how can these be reduced?
§ How many deputies are assigned to each call, and how can these
   assignments be minimized?
§ What categories of calls does the agency handle, and in what
   frequency, and what measures can be adopted to minimize
   unnecessary responses?
§ How much time is spent on administrative duties?
§ How much time is spent on directed patrol activities and specialized
   enforcement?
   The study will determine the gaps in patrol coverage and
   recommendations for modifying temporal and spatial deployment.
   With the appropriate “best fit” of patrol coverage identified, a
   determination can be made about the exact number of deputies
   required to meet service demands, and in what shift/district/division
   combinations to maximize resources. All of this analysis will take
   into account the requirements of the Court Orders in applicable
   areas, such as span of control or other requirements specified in the
   Orders.
   In addition to the analysis of patrol operations from the CAD system
   and workload, the CPSM study will focus on the qualitative aspects
   of patrol. The study will observe deputies on patrol through ride-a
   longs, interviews, and general observations. We will amass all
   available documents, plans, and data available to understand the
   patrol approach in the Department. We will observe the special
   operations teams, e.g., the problem/nuisance unit, etc. to evaluate
   their role within the overall Department mission and patrol
   operations. We will evaluate the performance of the units, identify
   improvement opportunities, and justify and recommend appropriate
   staffing levels.




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       The CPSM study will also evaluate the implementation of technology
       on patrol, weapons available, and equipment used, as well as
       opportunities for improvement.
       CPSM advocates community policing as its operational philosophy.
       The CPSM study will evaluate the implementation of community
       policing, in quantifiable and anecdotal terms, and identify
       improvement opportunities where appropriate.
       Similarly, the CPSM study will evaluate the relationship of patrol
       operations to the rest of the Office. To what extent does this bureau
       work, coordinate, and communicate with the other Office operational
       and support functions? How should it? What are the Office
       strategic, management, and planning functions with regards to the
       patrol function and how do patrol operations respond to the mission
       of the organization? How are crime, traffic, disorder, and quality of
       life problems handled? For example, how does the Sheriff’s Office
       respond to homeless and mental health issues in the communities
       they serve? Are deputies integrated with social service employees
       or partner provider agencies?


Investigations
The CPSM study will assess criminal investigations – both reactive and
proactive. We will explore:

   § Staffing — Are there sufficient investigators available to handle the
     workload?
   § Workload — What is the workload? How many cases do
     investigators handle? Is the specialization appropriate?
   § Case management— Is there an effective case management
     system in place?
   § Effectiveness & Efficiency — How much time does it take to
     investigate cases? Are victims kept informed? Are cases
     cleared and offenders held accountable? How much overtime is
     spent?

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    § Intelligence — How is intelligence gathered and disseminated
      (inside and outside the department)? Does the investigations’
      function make use of intelligence?
    § Civilianization opportunities — What are the potential areas for
      civilianization?
    § Technological opportunities — Is technology leveraged to improve
      investigations?
    § Crime scene — Are crime scenes processed efficiently and are
      appropriate follow-ups conducted?
    § Proactive investigations — the same approach and inquiries
      found in sections above are applied to each of the Office’s
      specialized investigative units.
 CPSM will evaluate each criminal investigative unit operating in the agency.
 This evaluation will assess the performance of the unit, how the unit
 operates within the Office’s mission, compare operations to best practices
 in law enforcement, identify improvement opportunities, and identify
 appropriate staffing levels. Case management, workload, training, and
 policy compliance will all be examined.


Administration and Support
 CPSM will evaluate the Sheriff’s Office administrative and support units.
 This evaluation will involve staffing, workload, civilianization possibilities,
 cost-saving opportunities, outsourcing opportunities, best practice
 comparisons, and opportunities for improvement.
 Our police management and administration subject matter experts will
 explore administration and support activities in professional standards
 (internal investigations, hiring and recruitment, disciplinary system,
 promotional system), training (both academy and in-service), and records
 management. We will evaluate critical, frequent, and high-liability policies,
 as well as facility, fleet, equipment, IT, property management system,
 laboratory, planning and research, sick-time management, overtime,
 communications, dispatch, etc. In general, we look at every unit identified
 as a discrete operational/support entity for the following:

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    § Functions of the unit.
    § Performance of the unit (in most cases, this is a quantitative
      evaluation).
    § Identification of improvement opportunities; and
    § An evaluation, justification, and recommendation for appropriate
      staffing levels.



Professional Standards
 CPSM is aware of and has reviewed the most recent Court Order: CV-07-
 2513-PHX-GMS. In addition to the standard analysis of the Professional
 Standards Bureau detailed in the original scope of work, CPSM will also
 determine the most efficient way for MCSO to allocate its personnel
 considering the existing authorized staffing levels, the requirements and
 expectations of its served communities, the requirements of the Court
 Orders, and the timely elimination of the existing backlog of PSB
 investigations. We will make recommendations on the necessary staffing
 level for MCSO to fulfill these obligations regardless of the existing
 vacancies. These levels will be consistent with the requirements to
 maintain the timely completion of PSB investigations in compliance with the
 Court Orders, the Court Monitor, and the parties.
 As part of this portion of the analysis, CPSM will develop a thorough
 understanding of the PSB processes and case load. Our team members
 have already met with PSB investigators and command staff members
 during our site visit. Our consultants will meet with the Court’s Monitor and
 the Court’s Consultant to ensure a comprehensive understanding of the
 issues and challenges with the lack of compliance from their perspectives.
 Our recommendations will consider the current operational structure and
 capability of the Sheriff’s Office, in context with the backlog in PSB, along
 with the requirements of the Court and perspectives of the Court’s Monitor
 and Consultant.
 Our team will also undertake a more detailed analysis of every current
 sergeant and lieutenant assignment in the Sheriff’s Office to determine the
 appropriateness of the assignment in relation to the mission of the Office

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 given the most recent Court Order. The examination will recommend
 potential reassignments of current personnel to assist in the reduction of
 cases backlogged in PSB.           In addition to reassignment of staff,
 consideration will also be given to alternative ways of reducing the backlog
 of cases in PSB.
 A significant portion of the PSB analysis is currently underway and should
 be complete by the end of January 2023. However, the final analysis and
 recommendations may be impacted by new processes or procedures to be
 established in accordance with the latest Court order. Alterations to existing
 procedures that may impact timelines and caseloads of PSB investigations
 will need to be considered. Therefore, depending upon the status of
 approved changes made to PSB protocols, delivery of the final PSB
 recommendations may be delayed accordingly.


Organizational Culture
 During the operational evaluation, organizational themes emerge. What
 does the Sheriff’s Office think about providing police service to the
 community, and how does this thinking align with the stated mission and
 policies? How does the Sheriff’s Office interact with the community and
 internally with its own members? In general, what is the organization
 culture?
 The culture of a police organization reflects its members and the community
 it serves. Through focus groups, interviews, and observations, CPSM will
 evaluate operational readiness and need. This part of our study is critical
 to the overall project success, as it provides a better understanding of the
 Sheriff’s Office and how the workload, staffing, and community dynamics
 shape the organization’s mission, goals, operations, and needs.
 Organizational Structure and Administration
 Based on the above, we can analyze current management structure and
 practice and make recommendations to improve organizational
 administration. The product of this analysis is a proposed staffing mode: a
 leaner, flatter, and more efficient organizational design.
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Performance Management
CPSM’s overarching philosophy is to evaluate the Sheriff’s Office in terms
of performance management. Identifying workload, staffing, and best
practices is just the beginning. It is also important to assess the
organization’s ability to carry out its mission. Essentially, does the Office
know its goals, and how does it know they are being met? It is difficult for
an organization to succeed at any given level of staffing unless it has a clear
picture of success. How does the department “think” about its mission?
How does it identify and measure what is important to the community? How
does it communicate internally and externally? How does it hold managers
accountable? And how does it know the job is getting done? CPSM will
evaluate the Sheriff’s Office and make recommendations to assist with
improving capacity in this area, if necessary.


Meetings
For this study, both teleconference and in-person meetings have been
conducted to discuss the project as well as to gather information required
for study completion. At a minimum, meetings to support this study included
a project kickoff meeting; meetings to interview Sheriff’s Office leadership,
staff, and other stakeholders (to gain understanding of existing operations
and expectations and to review and discuss current and expected level of
service); and will (not yet completed) include meetings to review preliminary
draft and final findings and recommendations with the County and MCSO
executives. The specific meetings and proposed schedule for the meetings
were discussed with the County’s project team during the project kickoff
meeting. This provided an opportunity to discuss the purpose of meetings,
appropriate participants for each meeting, schedule, etc., and to finalize the
meeting organization.




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Deliverables
Upon completion of the organizational and operational review, CPSM will
prepare a report that provides the data, findings, and recommendations
from our study of the Sheriff’s Office. This report will address all requested
services identified in the County’s proposal specifications, including:
   § An executive summary;
   § Description of the study methodology;
   § A summary review of strengths and opportunities for improvement
     and change;
   § Response and service-level data;
   § An explanation of proposed changes and recommendations
     including optimal staffing levels and organizational chart; pros
     and cons and funding and implementation alternatives for each
     staffing option; and best practice models for future service
     delivery;
   § Methodology for calculating future staffing needs and associated
     equipment and office space needs;
   § Recommendations for enhanced recruiting and retention of sworn
     deputies;
   § Supporting data and rationale for all recommendations;
   § Supporting statistics and other visual data to fully
     illustrate the current situation (including court
     requirements) and consultant recommendations.
CPSM will provide a draft report to the County and MCSO for review and
comment by the end of January 2023. We may revise portions of the draft
report based on the County or MCSO’s consolidated comments as we
deem appropriate. CPSM will maintain complete autonomy over all findings
and recommendations and only make changes to the draft deemed
appropriate by the CPSM team. A portion of the report may be delayed
depending upon the progress of changes to PSB protocols and procedures.
Once the draft report has been reviewed and feedback received, we will
deliver a final version of the report to the County and MCSO.


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If requested, we will conduct a formal presentation of the study findings and
recommendations. If such a presentation is requested, we will work with the
County to identify the meeting participants and venue. CPSM routinely
conducts presentations on the studies we perform.




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                                  Appendix A
                          CPSM Subject Matter Expert Bios
Chief Robert Handy, M.S., Associate
Chief Robert Handy is a 30-year law enforcement professional having served in a wide variety
of assignments from Patrol Officer to Police Chief. Handy served in three separate jurisdictions:
Huntington Beach, California; San Bernardino, California; and Phoenix, Arizona.

Chief Handy worked a wide variety of assignments from officer/detective through leadership
positions in all divisions of a police agency and has been involved in training and teaching for
decades. His broad-base of experience includes firearms instructor, arrest tactics/use of force
instructor, academy instructor, in-service instructor, and veteran university teacher. Chief Handy
has obtained a Bachelor’s and Master’s degree in Public Administration and is a graduate of the
FBI National Academy.

Chief Handy has taught and developed police officers and police leaders from agencies across
the country. His diverse experiences from three jurisdictions, combined with years of academic
research and teaching, has provided Handy with vast knowledge and expertise in police practices,
training, and every other aspect of contemporary policing.

Chief Craig Junginger, B.S., M.P.A.
Chief Junginger has 40 years’ experience as a law enforcement professional. In his last
position before retirement, he served as the Chief of the Gresham, Oregon, Police Department
for 8 years. Gresham is a community of 120,000 population just to the east of the City of
Portland, Oregon. He led a department of 140 sworn personnel and 30 civilian personnel with a
budget of $33 million.

Since retirement in 2016, Junginger has remained active in law enforcement by doing three
interim police chief positions, as well as operating his own business conducting administrative
personnel investigations for cities, counties, universities, and assorted municipal district entities.
He is also currently on staff at Golden West Community College and instructs in their criminal
justice program and police academy.

Chief Junginger began his career at the Bell-Cudahy Police department in 1979. He worked as
a K-9 Officer, Detective and Patrol Officer. In 1985 he transferred to the Huntington Beach Police
Department where he remained until his retirement in November 2008. While at Huntington
Beach, he was a Patrol Officer, Beach Detail Officer, Field Training Officer, SWAT Officer, Traffic
Motor Officers, Community Policing Officer and Narcotics Detective. In 1999 he promoted to
Sergeant where he worked Patrol, Downtown Foot Beat, Support Services, Vice and Intelligence
and Internal Affairs. He promoted to Lieutenant in 2003 and worked as the Community Policing
Commander responsible for all major event planning, Watch Commander and as the Chief’s
Executive Officer. In 2007 he promoted to the rank of Captain and was assigned to Administrative
Operations consisting of Communications, Budget, Personnel, and Property and Evidence.

He holds a Master’s Degree from California State University, Long Beach, a Bachelor’s Degree
from University of La Verne and an Associate’s Degree from Rio Hondo Community College.

He attended the FBI National Academy Class 224 in Quantico Virginia, California Post Command
College, West Point Leadership Program, POST Executive Development Program and the POST
Supervisory Leadership Institute. While in Command College he was published for his article
“How will we train police recruits of the millennial generation in the year 2012.”

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He was awarded the Medal of Valor in 1989 for his encounter with an armed bank robber while
at HBPD, and the Distinguished Service Medal upon retirement from Gresham PD.

Chief John E. Perez, B.S., M.S., Ph.D.
John E. Perez has served as the Chief of Police for the City of Pasadena (CA) since 2018 and
has been with the Department since 1985. His 35 years of public safety experience includes an
array of specialized assignments in enforcement, special tactics, administration, and community
initiatives. He served as the Counter-Terrorism Intelligence Officer immediately after the 9/11
terrorist attack in developing security/safety measures for Pasadena’s Tournament of Roses
Parade, Rose Bowl, and special events. After serving as the Special Enforcement Section
Sergeant and developing policing initiatives in lowering gang violence while improving
community trust and confidence, he was appointed by California’s Commission on Peace
Officer Standards and Training to provide best practices on developing statewide initiatives. He
is the recipient of Mayor’s Special Service Award for his work in developing community
initiatives and has been twice awarded with the Police Chief’s Excellence in Policing merit
award. Chief Perez has served in the various ranks of the Department, including Deputy Chief
of Police from 2016-2018.

Chief Perez led the development of several internal initiatives that decreased the use of force by
50% through immersive training and self-improvement from use of Body-Worn Camera (BWC),
as well other initiatives to increase community awareness of policing challenges through
programs such as “Policing 101” and “Community Conversations” – each intended to develop and
educate community members, youth, and the media on policing topics as well as learning from
the community.

Chief Perez serves on the Pasadena Educational Foundation, Patron Saints Foundation, and is
a graduate of the California Peace Officers and Standards Executive Management School as well
as holding a POST executive certificate. Chief Perez possesses a Bachelor’s degree in Criminal
Justice, a Master’s degree in Behavior Science, and a PhD in Public Administration. He serves
on the board of the California Police Chiefs Association and the National Police Foundation.

Chief Jarrod Burguan, B.S., M.A.
Chief Burguan served 29 years in local law enforcement, with 10 years of that experience in
senior management positions. He retired as the Chief of Police for the San Bernardino (Ca)
Police Department in 2019.

During his career, Chief Burguan worked a variety of assignments in the patrol, traffic,
investigative and administrative divisions of the department. He has the unique experience of
managing a police department through a municipal bankruptcy while maintaining day to day
operational effectiveness. He has been an invited speaker at conferences and training events
throughout the country and internationally on police response to active shooter events following
both an elementary school active shooter in 2016 and the 2015 terrorist attack in San Bernardino.

Since retiring from the department in 2019, Chief Burguan has continued to work as a consultant
for municipal government and media organizations and has served as an advisor for the
Department of Justice – ICITAP program. He holds a Bachelor’s degree in Business and a
Master’s degree in Management from the University of Redlands. He is also a graduate of the
California Command College, the FBI’s Law Enforcement Executive Development program and
the Senior Management Institute for Police through the PERF.




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